                                                                                                                                                               7/10/20 12:30PM




 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Nicholas Clifton Barnard
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of Washington                         2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                         1,218.67        $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                       $           1,597.64
        Ordinary and necessary operating expenses                    -$            723.16
        Net monthly income from a business,                                                  Copy
        profession, or farm                                          $               874.48 here -> $               874.48        $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                             $    0.00
        Ordinary and necessary operating expenses                          -$   0.00
        Net monthly income from rental or other real property              $    0.00 Copy here -> $                     0.00      $
                                                                                                       $                0.00      $
  7. Interest, dividends, and royalties




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 Debtor 1     Nicholas Clifton Barnard                                                                  Case number (if known)



                                                                                                    Column A                     Column B
                                                                                                    Debtor 1                     Debtor 2 or
                                                                                                                                 non-filing spouse
  8. Unemployment compensation                                                                      $              656.33        $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                        0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
               .                                                                              $                        0.00      $
                                                                                                    $                  0.00      $
                  Total amounts from separate pages, if any.                                   +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $        2,749.48          +   $                   =   $      2,749.48

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $          2,749.48

              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                 12b. $          32,993.76

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  WA

       Fill in the number of people in your household.                        1
       Fill in the median family income for your state and size of household.                                                          13.   $         67,511.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Nicholas Clifton Barnard
                Nicholas Clifton Barnard
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 Debtor 1    Nicholas Clifton Barnard                                                             Case number (if known)

                Signature of Debtor 1
        Date July 10, 2020
             MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




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 Debtor 1    Nicholas Clifton Barnard                                                             Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 01/01/2020 to 06/30/2020.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: University Unitarian Church
Income by Month:
 6 Months Ago:                                    01/2020                 $1,283.94
 5 Months Ago:                                    02/2020                 $1,156.57
 4 Months Ago:                                    03/2020                  $886.53
 3 Months Ago:                                    04/2020                 $1,738.07
 2 Months Ago:                                    05/2020                 $1,141.29
 Last Month:                                      06/2020                 $1,105.62
                                 Average per month:                       $1,218.67




Line 5 - Income from operation of a business, profession, or farm
Source of Income: Uber & Delivery Driver
Income/Expense/Net by Month:
                         Date                                           Income                          Expense                     Net
 6 Months Ago:                  01/2020                                        $2,610.74                           $707.83                $1,902.91
 5 Months Ago:                  02/2020                                        $1,868.79                           $733.70                $1,135.09
 4 Months Ago:                  03/2020                                        $1,984.72                           $815.93                $1,168.79
 3 Months Ago:                  04/2020                                        $1,406.44                           $822.83                  $583.61
 2 Months Ago:                  05/2020                                         $920.69                            $834.33                   $86.36
 Last Month:                    06/2020                                         $794.47                            $424.35                  $370.12
                     Average per month:                                        $1,597.64                           $723.16
                                                                                           Average Monthly NET Income:                      $874.48




Line 8 - Unemployment compensation (included in CMI)
Source of Income: WA Unemployment
Income by Month:
 6 Months Ago:                                    01/2020                     $0.00
 5 Months Ago:                                    02/2020                     $0.00
 4 Months Ago:                                    03/2020                     $0.00
 3 Months Ago:                                    04/2020                  $627.00
 2 Months Ago:                                    05/2020                 $1,929.00
 Last Month:                                      06/2020                 $1,382.00
                                 Average per month:                        $656.33




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